Case 1:25-cv-00917-RJL   Document 80-1   Filed 04/11/25   Page 1 of 19




                     APPENDIX A
     Case 1:25-cv-00917-RJL      Document 80-1     Filed 04/11/25   Page 2 of 19




                                 List of Amici Curiae
300degrees PLLC
Aaron C. de la Garza, PLLC
Abdnour Weiker, LLP
Advocate Law Group P.C.
AEON Law, PLLC
Aisha N. Smith Regulatory Law, PLLC
Ajamie LLP
Aldous Law
Ali & Lockwood LLP
ALR Civil Rights LLC
Altair Law
Alto Litigation
Altshuler Berzon LLP
Ambrose Law Firm, PLLC
Amis, Patel and Brewer, LLP
Anapol Weiss
Anderson & Kreiger LLP
Andrues/Podberesky
Andrus Anderson LLP
Andrus Wagstaff, PC
Arete Law Group PLLC
Arguedas, Cassman, Headley & Goldman LLP
Armond Wilson LLP
Arnold & Porter
Arns Davis Law
Arrowood LLP
Arshack, Hajek & Lehrman, PLLC
Arthur J. Lachman, Attorney at Law
Ascheman Law
ASNER LLC
Atheria Law PC
Avera & Smith, LLP
Aviso Legal Group LLP
Aviva Kamm Law PLLC
Aylstock, Witkin, Kreis and Overholtz, PLLC
Bailey & Glasser, LLP
Banashek Irving & McNutt, LLP
Bangos Law Firm, P.A.
Bangs, McCullen, Butler, Foye & Simmons, LLP
Bantle & Levy LLP
Barnard Iglitzin & Lavitt, LLP
Barrientos PC
Bassford Remele
Baughman Kroup Bosse PLLC
Beale, Micheaels, Slack & Shughart, P.C.

                                          1
     Case 1:25-cv-00917-RJL      Document 80-1      Filed 04/11/25   Page 3 of 19




Bedell, Dittmar, DeVault, Pillans & Coxe, P. A.
Beeman & Muchmore, LLP
Beldock Levine & Hoffman LLP
Benach Pitney Reilly LLP
Benedict Law Group PLLC
Bennett & Samios LLP
Berger Montague PC
Berman Tabacco
Berner Chawla, PLLC
Bernstein & Gordon LLP
Beveridge & Diamond, P.C.
Bharti Law Group, PLLC
Binder & Schwartz LLP
Bird, Marella, Rhow, Lincenberg, Drooks & Nessim, LLP
Birnbaum & Godkin, LLP
Birrell Law Firm PLLC
BLL LLP
Block & Leviton LLP
Bloom Law PLLC
Bloom Peters, LLC
Blumberg Law Corporation
Bondurant, Mixson & Elmore, LLP
Boro Law Firm
Botkin Chiarello Calaf PLLC
Bradley Bernstein Sands LLP
Brady Reilly & Cardoso, LLC
Bragança Law LLC
Brandt Law, PLLC
BraunHagey & Borden LLP
Brautigam & Brautigam, LLP
Bremer Whyte Brown & O'Meara, LLP
Breskin Johnson & Townsend PLLC
Brian L. Tannebaum, P.A.
Broadband Legal Strategies, LLC
BrotmanLaw, PLLC
Brown, Goldstein & Levy, LLP
Bryan Schwartz Law, P.C.
Burgess Law PC
Byrd Davis Alden & Henrichson, LLP
Cade Law Group LLC
Caffrey Hill, PLLC
Cairncross & Hempelmann, PS
Caldwell LLP
Cannon & Dunphy
Caplan Cobb LLC
Carney Bates & Pulliam, PLLC

                                           2
     Case 1:25-cv-00917-RJL      Document 80-1   Filed 04/11/25   Page 4 of 19




Casey Gerry Francavilla Blatt LLP
Cavanagh Sorich Law Group
Charhon Callahan Robson & Garza, PLLC
Charles J. Kettlewell LLC
Charles S. Tusa PLLC
Chatillon Weiss PLLC
Choate, Hall & Stewart LLP
Ciccone Law, LLC
Ciresi Conlin LLP
Civil Rights Litigation Group, PLLC
Clallam Public Defenders
Clapp, Moroney, Vucinich, Beeman + Scheley
Clarick Gueron Reisbaum LLP
Clark Smith Villazor LLP
Clarke Johnston Thorp & Rice, PPC
Clayman Rosenberg Kirshner & Linder LLP
Clean Energy Counsel, LLP
Clifford Law Offices, P.C.
Clinton & Peed
Coast Law Group, LLP
Coblentz Patch Duffy & Bass LLP
Cochran Law Group
Cohen Hirsch, LP
Cohen Milstein Sellers & Toll PLLC
Cohen Williams LLP
Cohen&Green P.L.L.C.
Cohen, Placitella & Roth, P.C.
Colantuono, Highsmith & Whatley, PC
Collado Law, LLC
Commins, Knudsen & Chou, P.C.
Complex Appellate Litigation Group LLP
Conn, Kavanaugh, Rosenthal, Peisch & Ford, LLP
Connolly Law Offices, LLC
Conrad | Metlitzky | Kane LLP
Coogan Gallagher
Coopers LLP
Coppersmith Brockelman PLC
Corey B. Bearak, Esq.
Cornish & Dell'Olio, P.C.
Corr Cronin LLP
Correia & Puth, PLLC
Cotchett, Pitre & McCarthy, LLP
Covington & Burling LLP
Cowan, DeBaets, Abrahams & Sheppard LLP
Cowdery, Murphy & Healy, LLC
Crain Brogdon, LLP

                                           3
     Case 1:25-cv-00917-RJL     Document 80-1      Filed 04/11/25   Page 5 of 19




Creative Criminal Defense Consultants
Crowell & Moring LLP
Cultural Heritage Partners, PLLC
Cummins & Cummins, LLP
Curcio Law, PLLC
Daar & Newman, a Professional Law Corporation
D'Amico & Pettinicchi, LLC
Dardarian Ho Kan & Lee
Davey & Goldman Law Firm
David Corbett PLLC
Davis Graham & Stubbs LLP
Davis Levin Livingston
Davis Wright Tremaine LLP
Davison Law, LLC
DEH Law, PLLC
Delegal, Poindexter & Underkofler, P.A.
Deutsch Hunt PLLC
DMC Law, LLC
Donahue Law Firm, PLLC
Donahue, Goldberg & Herzog
Donald F. Carnes, P.C.
Dorsay & Easton LLP
Doyle Dennis Avery LLP
Drahota Defense LLC
Dreher Law Firm
Dreyer Babich Buccola Wood Campora, LLP
Durkin & Roberts
Dyller & Solomon, LLC
Eagle Team LLP
Edelson PC
EDGE, A Professional Law Corporation
Edward J. McIntyre, Esq.
Edward R. Shaw P.A.
Ehrlich & Craig LLP
Eimer Stahl LLP
Emery Celli Brinckerhoff Abady Ward & Maazel LLP
Emily Jane Bell, Nicholson Goetz & Otis, S.C.
Equinox Business Law Group PLLC
Equity Litigation Group LLP
Eric Maxfield Law, LLC
Erica McKinley, PLLC
Esler Stephens & Buckley LLP
Estes Law Group
Ezkovich & Co., LLC
Faraci Lange, LLP
Farella Braun + Martel LLP

                                          4
     Case 1:25-cv-00917-RJL       Document 80-1     Filed 04/11/25    Page 6 of 19




Faughnan Law, PLLC
Feinberg, Jackson, Worthman & Wasow LLP
Fenwick & West LLP
Ferrara & Gable, LLC
Fick & Marx LLP
Finkel Law Group P.C.
Fisher Taubenfeld LLP
Foley & Mansfield, PLLP
Foley Hoag LLP
Folger Levin LLP
Forsgren Fisher McCalmont DeMarea Tysver LLP
Fox & Robertson, PC
Fox Swibel Levin & Carroll LLP
Frank Freed Subit & Thomas LLP
Frankel PLLC
Frankfurt Kurnit Klein & Selz PC
Freedman Boyd Hollander & Goldberg P.A.
FreelandLaw LLP
Freshfields US LLP
Friedemann Goldberg Wargo Hess LLP
Friedlander Misler, PLLC
Friedman | Rubin, PLLP
Fritz Byrne, PLLC
FTW Law Group, APC
Gainey Law, PLLC
Gair, Gair, Conason, Rubinowitz, Bloom, Hershenhorn, Steigman & Mackauf
Gale Law Firm
Galiher DeRobertis & Waxman LLP
Gallagher Evelius & Jones LLP
Garland, Samuel & Loeb, P.C.
Garmey Law
gartner + bloom P.C.
Gass Arbitration
Gelber & Santillo PLLC
George Brothers Kincaid & Horton, LLP
Getman, Sweeney & Dunn, PLLC
Gibbs Mura LLP
Gideon Asen LLC
Gilbert LLP
Gingras, Thomsen & Wachs, LLP
GinsburgLaw PLLC
Girard Sharp LLP
Gish PLLC
Giskan Solotaroff & Anderson LLP
Gladstein, Reif & Meginniss, LLP
Glaser Weil Fink Howard Jordan & Shapiro LLP

                                           5
     Case 1:25-cv-00917-RJL      Document 80-1   Filed 04/11/25   Page 7 of 19




Gleason, Dunn, Walsh & O’Shea
Glenn Agre Bergman & Fuentes LLP
Glenn F. Hardy, P.C.
Goldman Ismail Tomaselli Brennan & Baum LLP
Goodley McCarthy LLC
Goodman Corporate Law PLLC
Goodman Hurwitz & James, P.C.
Gordon & Saunders, PLLC
Gordon Thomas Honeywell LLP
Gordon Tilden Thomas & Cordell LLP
Goulston & Storrs PC
GrahamHollis, APC
Grant & Eisenhofer, P.A.
Grant Austin, LLC
Graves, Dougherty, Hearon & Moody, P.C.
Green & Willstatter
Greenblatt Law LLC
Greene Broillet & Wheeler, LLP
Greene Espel PLLP
Greenspun Shapiro Ginsberg & Yang P.C.
Griffin Frey, PLLC
Groombridge, Wu, Baughman and Stone LLP
Gross & Belsky P.C.
Grossman LLP
Grossman Roth Yaffa Cohen
Gupta Wessler LLP
Gustafson Gluek, PLLC
GVR Partners LLP
H.P. Williams Jr., PLLC
Haber | Blank
Haddon Morgan & Foreman, P.C.
Hagens Berman Sobol Shapiro LLP
Hamilton Law and Mediation, PLLC
Hangley Aronchick Segal Pudlin & Schiller LLP
Hanson Bridgett LLP
Hanson Crawford Crum Family Law Group LLP
Hanusz Law, PC
Harris St. Laurent & Wechsler LLP
Hart McLaughlin & Eldridge LLP
Hausfeld LLP
Heath Law, PLLC
Hecker Fink LLP
Heller Huron Chertkof & Salzman, PLLC
Hendler Flores Law PLLC
Hepworth Holzer, LLP
Hilliard Law

                                           6
      Case 1:25-cv-00917-RJL         Document 80-1    Filed 04/11/25   Page 8 of 19




Hilliard Shadowen LLP
Hillis Clark Martin & Peterson P.S.
Hinman Legal PC
Hirschfeld Kraemer LLP
HKM Employment Attorneys LLP
Holland, Holland Edwards & Grossman, LLC
Holmes Costin & Marcus PLLC
Holwell Shuster & Goldberg LLP
Hone Law LLC
Hoq Law APC
Houlding Law PC
Hubbard Snitchler & Parzianello PLC
Hughes Socol Piers Resnick & Dym, Ltd.
Hurley McKenna & Mertz, P.C.
Hutchinson, Black and Cook, LLC
Hykel Law, LLC
Icenogle & Boggins PLLC
Iliff, Meredith, Wildberger & Brennan, P.C.
Incline Law Group, LLP
Interlaken Law Group, PLLC
Internet Law Center Ltd.
Irigonegaray & Revenaugh
IzenbergLaw PLLC
J. Cantor Law
Jack Vetter, Esq.
Jackson Sjoberg LLP
Jacobs & Dow, LLC
Jacobs & Schlesinger LLP
Jacobs Injury Law, SC
Jaffe Counsel PLC
James & Hoffman, P.C.
James D. Leach Attorney
James D. Taylor, P.C.
James Ellis Arden, Attorney at Law
Jason Wiener|p.c., a public benefit corporation
Jassy Vick Carolan LLP
Jay Hailey Attorney PLLC
Jayne Law Group, P.C.
Jeff Rein Law
Jenner & Block LLP
Jennifer F. Apitz, Attorney at Law
Jester Gibson & Moore, LLP
Joanne E. Kleiner, Esquire
John A. Yannis, Attorney at Law
John Vail Law, PLLC
Johnson & Klein Law, PLLC

                                                  7
     Case 1:25-cv-00917-RJL      Document 80-1   Filed 04/11/25   Page 9 of 19




Jon Michael Smith, Attorney
Joseph Saveri Law Firm, LLP
Justice Law Collaborative, LLC
Kaiser PLLC
Kaplan Gore LLP
Kaplan Kirsch LLP
Kaplan Law Firm, PLLC
Kaplan Martin LLP
Kassel McVey
Kathryn Ross Law
Katsky Korins LLP
Katz Banks Kumin LLP
Kaufman Lieb Lebowitz & Frick
KBM Law
Keenan & Bhatia, LLC
Keker, Van Nest & Peters LLP
Keller Benvenutti Kim LLP
Keller Grover LLP
Keller Rohrback L.L.P.
Kendall Brill & Kelly LLP
Kennedy, Johnson , Schwab & Roberge, P.C.
Kenneth P. Tableman, P.C.
Kibler Fowler & Cave LLP
Kidd Law Firm, LLC
Kieve Law Offices
Killmer Lane, LLP
Kingfisher Law APC
KKL LLP
Kline & Specter, PC
KO Law PC
Kohls Law Firm PLC
Kohn, Kohn & Colapinto LLP
Koskoff Koskoff & Bieder PC
Kosloski Law, PLLC
Koslyn Law
Koss Firm APC
Kostelanetz LLP
Kramon & Graham, P.A.
Krantz & Berman LLP
Kreindler & Associates
Krevolin & Horst, LLC
Krokidas & Bluestein LLP
Kropf Moseley Schmitt
Kuras Legal, PLC
Kwall Barack Nadeau PLLC
Kwun Bhansali Lazarus LLP

                                            8
    Case 1:25-cv-00917-RJL       Document 80-1   Filed 04/11/25   Page 10 of 19




Laminack, Pirtle & Martines LLP
Lamitie Law LLC
Langer, Grogan & Diver, P.C.
Langrock Sperry & Wool, LLP
Lansner & Kubitschek
Larkins Vacura Kayser LLP
Larsen Walters PLLC
Lasher Holzapfel Sperry & Ebberson PLLC
Lauren H. Berkowitz, Attorney at Law, PLLC
Law Forward, Inc.
Law Office of Alexis Haller, P.C.
Law Office of Anne Garrett PC
Law Office of Annette Newman PLLC
Law Office of Anya Goldstein
Law Office of Chun T. Wright, PLLC
Law Office of Dan Roth
Law Office of Darlene Bagley Comstedt
Law Office of Diane K. Vaillancourt
Law Office of Elisabeth Ames
Law Office of Elizabeth Kelley
Law Office of Gail Shifman
Law Office of Gerry Weber, LLC
Law Office of Harris Taback
Law Office of Ihsan Dogramaci PLLC
Law Office of Janet L. Brewer
Law Office of Jeffrey R. Boxer
Law Office of John A. Strait
Law Office of John D. Cline
Law Office of Lewis Chimes
Law Office of Lisa C. Lambert
Law Office of M. Suzanne Molley
Law Office of Mark S. Mishler, P.C.
Law Office of Matthew Stiegler
Law Office of Michael Lumer
Law Office of Nanci Clarence
Law Office of Peter J. Heflin
Law Office of Rebecca E. Ary
Law Office of Richard E. Johnson
Law Office of Richard J. Davis
Law Office of Sara Azari
Law Office of Stephen Chahn Lee, LLC
Law Office of Susan F. Zinder, PLLC
Law Office of Susan Mindenbergs
Law Office of Timothy Black
Law Offices of Alex J. Higgins
Law Offices of Andrew Marks PLLC

                                             9
     Case 1:25-cv-00917-RJL        Document 80-1       Filed 04/11/25   Page 11 of 19




Law Offices of Arlan A. Cohen
Law Offices of Arthur Thomas Donato
Law Offices of Brett D. Colacurcio
Law Offices of Clemente Franco, APC
Law Offices of David M. Zeff
Law Offices of David P. Sheldon, PLLC
Law Offices of Deborah LaBelle
Law Offices of Dena Alo-Colbeck
Law Offices of Donald V. Smiley, APC
Law Offices of Evan A. Jenness
Law Offices of Greg Rosenfeld, P.A.
Law Offices of Gregory S. Smith
Law Offices of Johanna J. Raimond Ltd.
Law Offices of Jonathan G Stein
Law Offices of Joseph M. McMullen
Law Offices of Julia S. Gold
Law Offices of Karen A. Klein
Law Offices of Laurel Stuart-Fink, PLLC
Law Offices of Mark P. Zimmett
Law Offices of Melissa A. Weinberger
Law Offices of Michael R. Marrinan
Law Offices of Paul Weich
Law Offices of Richard E. Grayson
Law Offices of Richard M. Steingard
Law Offices of Robert D. Richman LLC
Law Offices of Scot D. Bernstein, A Professional Corporation
Law Offices of Steven B. Piser
Law Offices of Thomas C. Willcox
Law Offices of Thomas S. Salinger, A.P.C.
Law Offices of Thomas Schneck
LeGrand Law PLLC
Leichtman Law PLLC
Lenzo & Reis, LLC
Lerch, Early & Brewer
Leung Law PLLC
LeVan Law LLC
Leventhal Puga Braley PC
Levi Merrithew Horst PC
Levin & Perconti
Levin Sedran & Berman LLP
Levine Lee LLP
Levy Ratner, P.C.
Lewis & Lin, LLC
Lewis Baach Kaufmann Middlemiss PLLC
Lex Lumina LLP
Libby Hoopes Brooks & Mulvey, P.C.

                                             10
    Case 1:25-cv-00917-RJL       Document 80-1   Filed 04/11/25   Page 12 of 19




Liedel Law Group
Lieff Cabraser Heimann & Bernstein, LLP
Lisa Cahill PLLC
Littlepage Booth
Livelihood Law, LLC
Lockridge Grindal Nauen PLLP
Loevy & Loevy
Loftus & Eisenberg, Ltd.
Lohr Law Office LLC
Long & Levit LLP
Louis P. Pfeffer, P.A.
LoVerde Law, LLC
Lowrey Parady Lebsack & DeFazio, LLC
Luby Law & Mediation Services, PLLC
Lynn Pinker Hurst & Schwegmann
MacDonald Hoague & Bayless
Manatt, Phelps & Phillips, LLP
Mancini Shenk LLP
Marino & Weiss, P.C.
Marino, Tortorella & Boyle, P.C.
Mark E. Strickland, Attorney at Law
Markowitz Herbold PC
Marshall & Saunders, P.S.
Marziani, Stevens & Gonzalez PLLC
Maslon LLP
Massey & Gail LLP
Mattieson Law, PLC
McCandlish Holton, PC
McCurdy & Eichstadt, P.C.
McDowell Rackner Gibson PC
McGillivary Steele Elkin LLP
McGuinn, Hillsman & Palefsky
McHugh Law, PLLC
McKenzie Scott PC
McLane Middleton
McLane, Bednarski & Litt, LLP
McNaul Ebel Nawrot & Helgren PLLC
Mehri & Skalet, PLLC
Melnik Legal PLLC
Meyers Nave
MGL LLP
Michael A Jacobson, PS Inc.
Michael Bobseine, Esq., Attorney at Law
Michael Broad
Michael P. Brodsky, Attorney at Law
Michelle N. DeLong, PLLC

                                          11
    Case 1:25-cv-00917-RJL      Document 80-1      Filed 04/11/25   Page 13 of 19




Miller Korzenik Sommers Rayman LLP
Miller Law LLC
Miller Nash LLP
Miller Shakman Levine & Feldman LLP
Miller, Miller & Canby
Miner Barnhill & Galland, PC
Monahan Law Group, LLC
Monchamp Meldrum LLP
Morvillo Abramowitz Grand Iason & Anello PC
Moses & Moses, P.C.
Moskowitz Colson Ginsberg & Schulman
Motley Rice LLC
Moya Law Firm
MSB Employment Justice
Mullen Law Firm
Munger, Tolles & Olson LLP
Munley Law PC
Munro Law LLC
Muth Atwood PLLC
Nace Law Group
Nachawati Law Group PLLC
Nathan A. Fluter, PPLC
Nathan A. Holcomb Esq., PC
Neal, Gerber & Eisenberg LLP
Neill Schwerin Boxerman, P.C.
Nelson & Fraenkel LLP
Nelson Defense Group
Neufeld Scheck Brustin Hoffmann & Freudenberger, LLP
Newman McNulty
Nichols Kaster, PLLP
Nolan Heimann LLP
Northern Justice Project, LLC
Odin Law and Media
Ogborn Mihm, LLP
Olson Grimsley Kawanabe Hinchcliff & Murray LLC
Olson Remcho LLP
O'Malley & Madden, P.C.
Orange Law Offices, P.C.
Orchard Ridge Advisory LLC
Orsus Gate LLP
Outten & Golden LLP
Pacific Northwest Law LLP
Pacifica Law Group LLP
Pahlke Law, LLC
PalmerMediation LLC
Paradigm Counsel LLP

                                          12
    Case 1:25-cv-00917-RJL      Document 80-1    Filed 04/11/25   Page 14 of 19




Paradise Law Group, PC
Parker Lipman LLP
Parker Pohl LLP
Pashman Stein Walder Hayden, P.C.
Patrick Doerr LLP
Patterson Belknap Webb & Tyler LLP
Patterson Harkavy LLP
Paul H. Stevenson Law Offices
Peiffer Wolf Carr Kane Conway & Wise, LLP
Pelosi Wolf Spates LLP
Perdue & Kidd LLP
Perkins Coie LLP
Persyn Law & Policy
Peter L. Conway, P.C.
Peter Romer-Friedman Law PLLC
Petrillo Klein + Boxer LLP
Pfeiffer Rudolf LLC
Phillips & Paolicelli, LLP
Pierson Ferdinand LLP
Pines Bach LLP
Pitt McGehee Palmer Bonanni & Rivers P.C.
Plata Law Group LLC
Podhurst Orseck, P.A.
Pope McGlamry, P.C.
Price Law, LLC
Pullman & Comley LLC
Purchase, George & Murphey, P.C.
Quadra & Coll, LLP
Queen Saenz + Schutz PLLC
Qureshi Law PC
Rafferty Domnick Cunningham Yaffa
Rathod Mohamedbhai LLC
Reeves & Brightwell LLP
REH Legal
Reitler Kailas & Rosenblatt LLP
Rekhi & Wolk, P.S.
Relman Colfax PLLC
Richard LaFond P.C.
Richards Carrington, LLC
Richardson Thomas, LLC
Rights & Liberties Law Firm
Riley Safer Holmes & Cancila, LLP
Ringstrom DeKrey PLLP
RisCassi & Davis, P.C.
Ritz Clark & Ben-Asher LLP
Riverside Northwest Law Group, PLLC

                                            13
    Case 1:25-cv-00917-RJL       Document 80-1    Filed 04/11/25   Page 15 of 19




Riviera Law and Mediation
Rizio, Lipinsky, Heiting PC
Robb & Robb LLC
Robbins LLP
Roberson & Roberson P.A.
Robert A. Cole, Attorney at Law
Robert Pahlke Law Group
Roberts Disability Law, P.C.
Robin Potter & Associates, P.C.
Rogers Joseph O’Donnell P.C.
Romanucci & Blandin, LLC
Rosen Bien Galvan & Grunfeld LLP
Rosenberg Martin Greenberg, LLP
Rosenwein Law Group
Rosing Pott & Strohbehn
Roxanne Conlin & Associates, P.C.
Rudy, Exelrod, Zieff & Lowe, LLP
Ruiz & Smart LLP
Russ Perisho, PLLC
Russell & Woofter LLC
Salahi PC
Sall Spencer Callas & Krueger, ALC
Salvatore Prescott Porter & Porter, PLLC
Salvi, Schostok & Pritchard P.C.
Sanderford & Carroll, PC
Sandler Reiff Lamb Rosenstein & Birkenstock, PC
Sanger, Hanley, Sanger & Avila, LLP
Sarafa Law PLLC
Sarah Lewerenz, Attorney at Law
Sari Laitinen, US Legal Counsel
Scale LLP
Schindler Cohen & Hochman LLP
Schonbrun Seplow Harris Hoffman & Zeldes, LLP
Schroeter, Goldmark & Bender, P.S.
Schwabe, Williamson & Wyatt, P.C.
Scott A. Korenbaum, Esq.
Searcy Denney Scarola Barnhart & Shipley, P.A.
Sebago Injury Law
Seeskin Law LLC
Segal & Amos, PLLC
Segal & Laska, LLC
Selendy Gay PLLC
Selzer Gurvitch Rabin Wertheimer & Polott, P.C.
Sentner Safran LLP
Sercarz & Riopelle, LLP
Serpe LLC

                                           14
    Case 1:25-cv-00917-RJL      Document 80-1   Filed 04/11/25   Page 16 of 19




Shades of Gray Law Group, P.C.
Shaheen & Gordon, P.A.
Sharp Law Firm, P.A.
Shartsis Friese LLP
Sher Edling LLP
Sher Tremonte LLP
Sherin and Lodgen LLP
Shinder Cantor Lerner LLP
Shipman & Goodwin LLP
Shishido Taren Goldsworthy PLLC
Shreefer Law Firm, LLC
Shulman Rogers
Shute, Mihaly & Weinberger LLP
Sideman & Bancroft LLP
Silver Golub & Teitell LLP
Singleton Schreiber LLP
Sitara Human Rights Law
Skikos, Crawford, Skikos & Joseph LLP
SL Phillips Law PLLC
Slager Madry LLC
Slarskey LLC
Slater Legal PLLC
Slaton Roebuck, PLLC
Smith & Marjanovic Law, LLC
Smith LaCien LLP
Smith Mullin, P.C.
Smith Partners PLLP
Smoot law Firm PC
Sniderman Law
Solomon Appeals, Mediation & Arbitration
Solow, PLLC
Sommerman, McCaffity, Quesada & Geisler, LLP
Spark Justice Law LLC
Spear Wilderman, P.C.
Spera Law Group, LLC
Sperling Kenny Nachwalter, LLC
Spertus, Landes & Josephs, LLP
Spiegel & McDiarmid LLP
SpyHop Law PLLC
Stapleton Segal Cochran LLC
Stark & Stark PC
Stearns Weaver Miller
Stenberg Law, PLLC
Sterne, Kessler, Goldstein & Fox PLLC
Steven Toff Law & Consulting, PLLC
Steven Williams Law, P.C.

                                         15
    Case 1:25-cv-00917-RJL      Document 80-1      Filed 04/11/25   Page 17 of 19




Stoel Rives LLP
Stoll Berne Lokting & Shlachter P.C.
Strehorn, Ryan & Hoose
Stueve Siegel Hanson LLP
Stulberg & Walsh, LLP
Summit Law Group, PLLC
Sunstein LLP
Susman Godfrey LLP
Tabet DiVito & Rothstein LLC
Tabitha Myers Law PLLC (Midtown Law)
Tatro & Lopez, LLP
Taus, Cebulash & Landau, LLP
TCamp PLLC
Terance P. Perry & Associates
Teresa Joppa, Attorney at Law
Terrell Marshall Law Group PLLC
Terris, Pravlik & Millian, LLP
Teske Law, PLLC
The Advani Law Firm
The Avanzado Law Firm, APLC
The Banks Law Firm, P.A.
The Basile Law Firm
The Coopersmith Law Firm, LLP
The deRubertis Law Firm, APC
The Employment Law Group, PC
The Fernandez Firm, PL
The Fierberg National Law Group, PLLC
The Flood Law Firm LLC
The Haggard Law Firm
The Josh Greenberg Law Firm PLLC
The Krudys Law Firm, PLC
The Law Office of Barry M. Wolf
The Law Office of Christopher M. Goodman PLLC
The Law Office of Christy O'Connor
The Law Office of Deborah M. Golden (Golden Law)
The Law Office of EJ Hurst II
The Law Office of Marlo P. Cadeddu, P.C.
The Law Office of Stephen Wade Nebgen, PLLC
The Law Office of William Hornsby
The Law Offices of Eric J. Moutz, LLC
The Law Offices of John Burton
The Law Offices of Peter Swarth
The Law Offices of Seth P. Chazin
The Maddox Firm LLC
The Noble Law Firm
The Norton Law Firm PC

                                          16
    Case 1:25-cv-00917-RJL     Document 80-1     Filed 04/11/25   Page 18 of 19




The Paer Law Group, APC
The Prinz Law Firm, P.C.
The Ringler Law Firm
The Rossman Firm LLC
The Ryder Law Firm, LLC
The Schaps Law Office, A.P.C.
The Seltzer Law Firm
The Soto Law Office, LLC
The Spiggle Law Firm
The Villegas Law Firm, APC
Thede Culpepper Moore Munro & Silliman LLP
Thomas D. Walker, Attorney at Law
Thomas Gratz, Attorney at Law
Thomas Law LLC
Tim Lyons Law, PLLC
Tin Fulton Walker & Owen, PLLC
Todd & Weld LLP
Tonkon Torp LLP
Torgan Cooper & Aaron
Trine Law Firm LLC
Trister, Ross, Schadler & Gold, PLLC
Tymann, Davis & Duffy LLP
Untiedt Dabdoub, PLLC
Valentine Austriaco & Bueschel, P.C.
Van Kampen Law, PC
Vanaman German LLP
Victor M. Glasberg & Associates
VII & IX, A Professional Law Corporation
Vinick Hyams LLP
Visible Law LLC
Vladeck, Raskin & Clark, PC
Vodde IP, PLLC
Volin Employment Law, PLLC
Walden Macht Haran & Williams LLP
Walkup Melodia Kelly & Schoenberger
Wallen Law PC
Walsh Woodard LLC
Wang Hecker LLP
Warren J. Perlove, Attorney at Law
Washington Employment Benefits Advocates, PLLC
Waters Kraus Paul & Siegel
Waymaker LLP
Weddle Law PLLC
Weissman & Mintz LLC
Weitz & Luxenberg, P.C.
Welsh & Recker, P.C.

                                         17
    Case 1:25-cv-00917-RJL     Document 80-1   Filed 04/11/25   Page 19 of 19




Whistleblower Partners LLP
White & Stradley, PLLC
Wiggin and Dana LLP
Wilkinson Stekloff
Willenson Law, LLC
William D. Shapiro Law, Inc.
Williams & Connolly LLP
Williams Oinonen LLC
Wilson Turner Kosmo LLP
Win on the Papers LLC
Windy City Trial Group
Winebrake & Santillo, LLC
Wisniewski & Associates, LLC
Wocl Leydon LLC
Wolf & Oxley PLLC
Woodside Counsel, P.C.
Work/Environment Law Group
Yetter Coleman LLP
Yow PC
Zalkind Duncan & Bernstein LLP
Zimmer, Citron & Clarke LLP
Zimmerman Reed LLP
Zitrin Law Office
Zucker Law Group LLP
Zukerman Gore Brandeis & Crossman, LLP
ZVMLaw PLLC
ZwillGen PLLC




                                         18
